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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
────────────────────────────────────

SANDY GRACIANO,                                20-cv-7541 (JGK)

                    Plaintiff,                 ORDER

          - against -

MUSICIAN’S FRIEND, INC.,

                    Defendant.
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JOHN G. KOELTL, District Judge:

     It having been reported to this Court that the parties have

reached a settlement for this action, it is, on this 30th day of

November, 2020, hereby ordered that this matter be discontinued

with prejudice but without costs; provided, however, that within

30 days of the date of this order, counsel for the plaintiff may

apply by letter for restoration of the action to the calendar of

the undersigned, in which event the action will be restored.

     Any application to reopen must be filed within 30 days of

this order; any application to reopen filed thereafter may be

denied solely on that basis.     Further, if the parties wish for the

Court to retain jurisdiction for the purpose of enforcing any

settlement agreement, they must submit the settlement agreement to

the Court within the same 30-day period to be so-ordered by the

Court. Unless the Court orders otherwise, the Court will not

retain jurisdiction to enforce a settlement agreement unless it is

made part of the public record.
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     All pending motions are dismissed as moot.          All conferences

are canceled. The Clerk of Court is directed to close this case.


SO ORDERED.

Dated:     New York, New York
           November 30, 2020

                                          _____/s/ John G. Koeltl________
                                                John G. Koeltl
                                          United States District Judge




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